Case
 Case20-21316-GLT
      20-21316-GLT Doc
                    Doc3635-1
                            Filed 06/17/20
                                Filed        Entered
                                      06/17/20        06/17/20
                                                 Entered       13:21:10
                                                         06/17/20        Desc
                                                                  08:55:21    Main
                                                                            Desc
                           Document       Page 1 of
                         Proposed Order Page 1 of 1 1


                  ,17+(81,7('67$7(6%$1.5837&<&2857
                                                                                                 FILED
            )257+(:(67(51',675,&72)3(116</9$1,$ 3LWWVEXUJK         6/17/20 12:49 pm
 ,15(                                                                CLERK
 +(,',(%/$.(                              %.1R*/7 U.S. BANKRUPTCY
                         'HEWRU                                        COURT - :'3$
                                             &KDSWHU1R
 )5(('200257*$*(&25325$7,21             
                         0RYDQW           
                   Y                       5HODWHGWR'RF1RV
                                                                          35 
 +(,',(%/$.(                            
                   DQG                    
 1$7$/,(/87=&$5',(//2 75867((          
                         5HVSRQGHQWV      

             &216(1725'(52)&2857*5$17,1*027,212)
   )5(('200257*$*(&25325$7,21)255(/,())5207+($8720$7,&67$<

        $1'12:WKLVBBBBBGD\RIBBBBBBBBBBBBBXSRQFRQVLGHUDWLRQRIWKH0RWLRQIRU5HOLHI
                       17th         June

IURPWKH$XWRPDWLF6WD\ILOHGRQEHKDOIRI)5(('200257*$*(&25325$7,21 ³0RYDQW´ RQ0D\

 WKH³0RWLRQIRU5HOLHI´ >'NW1R@WKH7UXVWHH¶VUHVSRQVHWKHUHWRILOHGRQ0D\ WKH

³5HVSRQVH´ >'NW1R@DQGZLWKWKHFRQVHQWRIWKHSDUWLHVLWLVKHUHE\25'(5('WKDW

              7KH0RWLRQIRU5HOLHILVJUDQWHGZLWKWKHHIIHFWLYHGDWHRIWKHHDUOLHURI1RYHPEHU
                RUWKHGDWHRQZKLFKWKH7UXVWHHILOHVD5HSRUWRI1R'LVWULEXWLRQ
              7KHKHDULQJVFKHGXOHGIRU-XQHDWDPLVFDQFHOOHG


       Dated: 6/17/20                                     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                           BB
                                                            BBBBBBBBBBB
                                                                     B BBBBBBB
                                                                          BBBBB BB
                                                                                BBBBBBB
                                                                                     B BBBBBBBBBBB
                                                          *UHJRU\
                                                          *UHJRU\/7DGGRQLR
                                                                \/
                                                                  /7DGGRQLR
                                                                    
                                                          86%$1.5837&<-8'*(
                                                          86%$1
                                                                $1
                                                                $1.5837&<-8'*(

&RQWHVWHGWRE\

V7KRPDV<6RQJ(VTXLUH
7KRPDV<6RQJ(VTXLUH
$WWRUQH\IRU0RYDQW

V1DWDOLH/XW]&DUGLHOOR(VTXLUH
1DWDOLH/XW]&DUGLHOOR(VTXLUH
&KDSWHU7UXVWHH
